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                UNITED STATES FEDERAL DISTRICT COURT      FILED
                     WESTERN DISTRICT OF TEXAS         March 22, 2023
                           AUSTIN DIVISION           CLERK, U.S. DISTRICT COURT
                                                     WESTERN DISTRICT OF TEXAS

                                                                                          JF
                                                                        BY: ________________________________
                                                                                                DEPUTY

Kimberly D. Hogan Pro se
Plaintiff / Appellant

                                   CASE NUMBER: 1:21-CV-00892-RP



Aspire Financial, Inc. D/B/A Aspire Lending
and Council Donald E. Uloth
Defendants / Appellees




                                      NOTICE

                   Plaintiff / Appellant Change Of Address


Attention Clerk of The Court,

Please Notice the Courts (including the 5th Circuit Court of Appeals) of the change of
Address / Residency to: 900 Discovery Blvd. #13102 Cedar Park, Texas 78613


Respectfully,

/s/ Kimberly D. Hogan
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(303)246-1587
                                    March 22, 2023




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